Case 1: 05- -c\/- -01067- .]DT- STA Document 30 Filed 04/28/05 Page 1 of?59 Page|D 19
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a ».§>:
IN THE UNITED STATES DISTRICT COURT \ § ’P<s<?

 

PAULINE THARPE, by next friend "°/zg;,,.,JF/\`;z,
and attorney in face MARSHALL g /
THARPE

Plaintiff,
vs. Case No.: 1-05-1067 T/An

MERCK & CO., INC.; RONNIE L.
BATCHELOR, DPH; TAMMY RENE
N. PRATHER, DPH; BECKY CAPPS
TEAL, DPH; EXPRESS SCRIPTS,
INC.; STEPHANIE B. (BUCK) ISON;
COURTNEY SHAY (INGRAM)
McMAKIN; VINAY KRISHAN
SOOD; MELISSA CAROL
(McALLISTER) BARNES; MICHAEL
R]CHARDS; PATRICIA
BLASINGAME and SCOTT EVANS,

Defendants

 

 

ORDER ON MOTION FOR SPECIAL ADMISSION PRO HAC VICE
Joseph R. Alexander, Jr., has moved for special admission pro hac vice in this action on
behalf of Plaintiffs. Mr. Alexander is licensed to practice law in good standing before the U.S.
District Court of Texas, Southern District. For good cause shown, that motion is granted It is
hereby ordered that Mr. Alexander be admitted pro hac vice as counsel for Plaintiffs and may
actively participate in any trial, pre-trial and post-trial proceedings before this court.

IT IS SO ORDERED.

y` s
Signedrhisthe B ""day raw 2005.
/; h ‘ M

UNlT sT'A'TEs DISTRICT JUDGE

This document entered on the docket sheet in compliance
with Fiula 58 and'or 79 (a) FHCP on

Case 1:05-cv-01067-.]DT-STA Document 30 Filed 04/28/05 Page 2 of 4 Page|D 20

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Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
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US DISTRICT COURT

